           Case 2:10-cr-00168-DAD Document 147 Filed 01/11/13 Page 1 of 2


1    SCOTT N. CAMERON
     Attorney at Law
2    1007 7th Street, Suite 319
     Sacramento, California 95814
3    Telephone: (916) 442-5230
4    Attorney for:
     CUONG HOANG
5
6
7                         IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )          CASE NO.      2:10-CR-00168 JAM
                                   )
11                  Plaintiff,     )          STIPULATION AND ORDER VACATING THE
                                   )          CURRENT DATE SET FOR STATUS ON
12        v.                       )          SENTENCING AND SETTING DATE FOR
                                   )          JUDGMENT AND SENTENCING WITH PRE-
13   COUNG HOANG, et. al.          )          SENTENCE REPORT DISCLOSURE
                                   )          SCHEDULE
14                  Defendants.    )
                                   )          DATE: January 15, 2013
15                                 )          TIME: 9:45 a.m.
     ______________________________)          JUDGE: Hon. John A. Mendez
16
                                       Stipulation
17
          The parties, through undersigned counsel, stipulate that the date
18
     set for “status on sentencing” of defendant CUONG HOANG, currently
19
     scheduled for January 15, 2013, may be vacated and that the date of
20
     judgment and sentencing may be set for April 16, 2013, at 9:45 a.m.
21
     Further,   it   is   stipulated   that       the   Pre-Sentence   Report   (“PSR”)
22
     disclosure schedule may be set as follows:
23
          Proposed PSR:                           March 5, 2013
24        Written Objections to Probation:        March 19, 2013
          PSR Filed with the Court:               March 26, 2013
25        Motion for Corrections to PSR:          April 2, 2013
          Reply or Statement of Non-Opposition:   April 9, 2013
26        Judgment and Sentencing:           April 16, 2013, 9:45 a.m.
27
28

                                              1
           Case 2:10-cr-00168-DAD Document 147 Filed 01/11/13 Page 2 of 2


1         The Probation Department has been consulted regarding the above
2    stipulations and has no objections. The government has authorized the
3    defense counsel for CUONG HOANG to sign this stipulation on his
4    behalf.
5
6    DATED: January 11, 2013                    BENJAMIN WAGNER
                                                United States Attorney
7
                                       by       /s/ Scott N. Cameron, for
8                                               Todd Leras
                                                Assistant U.S. Attorney
9
10   DATED: January 11, 2013
                                       by       /s/ Scott N. Cameron
11                                              Scott N. Cameron
                                                Counsel for Cuong Hoang
12
13                                      Order
14        Good cause appearing,
15        The date for “Status on Sentencing” of defendant CUONG HOANG,
16   presently scheduled for January 15, 2013, is vacated and the matter is
17   set for Judgment and Sentencing on April 16, 2013, at 9:45 a.m.
18   Further, the disclosure schedule for the Pre-Sentence Investigation
19   Report is ordered to be as set forth in the above stipulation.
20
21        IT IS SO ORDERED.
22
23   DATED: 1/11/2013
                                                /s/ John A. Mendez
24                                              John A. Mendez, Judge
                                                United States District Court
25
26
27
28

                                            2
